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                                                                     November 15, 2021


  Honorable Edgardo Ramos
  United States District Judge
  Southern District of New York
  40 Foley Square                                                                       11/16/2021
  New York, New York 10007


         Re:     United States v. Mark S. Scott, S10 17 Cr. 630(ER)

  Dear Judge Ramos:

           We write on behalf of our client, Mark Scott, with respect to the scheduling of the
  defendant's Reply Brief in connection with his Supplemental Rule 33 Motion, which seeks a new
  trial based on (now conceded) perjury by cooperating witness Konstantin Ignatov ("Konstantin").

          As noted in our letter of November 8th, the parties are in discussions about the issues
  raised by Mr. Scott’s motion and the Government’s post-filing disclosures, including further
  evidence produced by the Government last week that Irina Dilkinska was in India on the date of
  a supposed meeting with Mr. Scott that Konstantin had testified to during trial. These
  discussions will continue with the incoming Chief of the Criminal Division of the U.S.
  Attorney’s Office for the S.D.N.Y., who is expected to start later this month.

          Accordingly, with the consent of the Government, we respectfully request that the time
  for the filing of the Reply Brief be extended until December 10, 2021.

          We also request that sentencing, now scheduled for December 9th, be adjourned. Mr.
  Scott respectfully proposes that the Court set a sentencing date, if necessary, following a ruling
  on Mr. Scott’s fully submitted motions (including his original post-trial motions, Dkts. 218, 275).
  The Government prefers that the Court calendar a date for sentencing in the first half of
  February.

Mr. Scott's time to reply is extended to December 10, 2021.          Respectfully submitted,
Sentencing is adjourned pending the Court's ruling
on the post-trial motions.
SO ORDERED.                                                          /s/ Arlo Devlin-Brown
                                                                     Arlo Devlin-Brown

                                     11/16/2021
